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\":f)\b.c,

|N THE UN|TED STATES D|STRICT COURT,
FOR THE WESTERN DlSTRICT OF TENNESSEE,
EASTERN D|VleON

 

 

ROGER D. R|LEY,
P|aintiff.

\/S. NO. ‘|-04-1267-T-P
WAL-MART Store #335, WAL-MART
ASSOC|ATES, |NC., VVAL~MART
STORES, |NC., VVAL-IV|ART STORES
EAST, |NC., A & M CLEANING
PRODUCTS, |NC., B|O-LAB, lNC.1
|nd`rvidual|y and as Owner of A & |\/l
CLEANlNG PRODUCTS, |NC.,
B|O-|_AB, |NC., as a Whol|y-owned
subsidiary Of GREAT LAKES
CHEl\/\|CAL CORPORAT|ON,

GREAT LAKES CHEM|CAL
CORPORAT|ON, |ndividualiy,
AUTOMATED PACKAG|NG SYSTE|V|S,
|NC., AUTOMATED PACKAG|NG
SYSTEMS SOUTHEAST, LLC,

CKS PACKAGING, |NC., and
PACKAGE SUPPLY & EOU|PMENT
CO., |NC.,

VVVVVVVWVVVVVVVVVVVVVVV~`_/-._/-._/

Defendants.

 

.[-P-_&BMORDER GRANT|NG PLA|NT|FF’S
NlOT|ON TO AMEND THE AMENDED CON|PLA|NT

 

This matter came before the Ceurt upon the P|aintitf’s N|otion to Amend the
Amended Cornp|aint. lt appears to the Court that the |V|Otion is We[| taken and it should
be and hereby is granted

1T |S THEREFORE ORDERED, ADJUDGED AND DECREED that the P|aintiff

be and hereby is altowed to amend the Amended Cornp|aint in this cause.

Tth document entered on the dockets e § c mp|iance
wrrh nme sa and.'or_rg (a) FncP on _§L_LD_©_S_ V\F\

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’\”;P&W___

HON`ORABLE TU r\/r. PHAr\/r
DrsTRlcT cedar JUDGE

Date'. A USL()UAQS_ la ‘, WQ(

   

TATES DISTRICT OURT - WESTENR DISTCRIT oF TNNEESSEE

mr

UNITED

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
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